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                           UNITED STATES DISTRICT COURT
                                     FOR THE
                             DISTRICT OF CONNECTICUT

LATASHA WALLACE,            §
    Plaintiff,              §
                            § C. A. No.: 3:17-cv-00564-JCH
v                           §
                            §
NATIONAL RECOVERY AGENCY,   §
     Defendant.             §
                            §
                            §
                            §
                            §
                    NOTICE OF SETTLEMENT

TO THE CLERK:

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

settlement. The parties advise that the matter has been resolved and the case may be closed with

leave to reopen within 45 days.



                                            RESPECTFULLY SUBMITTED,

  DATED: May 18, 2018
                                          By: /s/ Angela K. Troccoli
                                             Angela K. Troccoli, Esquire, #ct28597
                                             Kimmel & Silverman, P.C.
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                                              Attorney for the Plaintiff
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                                 CERTIFICATE OF SERVICE

  I hereby certify that on the 18th day of May 2018, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the court’s electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this document through the court’s CM/ECF System.


                                               /s/ Angela K. Troccoli
                                               Angela K. Troccoli, Esquire
